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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  NORTHERN DIVISION

UNITED STATES OF AMERICA,

                       Plaintiff,                             Case No. 1:20-cr-20365

v.                                                            Honorable Thomas L. Ludington
                                                              United States District Judge
DALE VERNON THRUSH,

                  Defendant.
_________________________________________/

       OPINION AND ORDER DECLARING MISTRIAL AND DENYING AS MOOT
                 MOTIONS REGARDING WITNESS TESTIMONY

         In August 2019, Defendant Dale Vernon Thrush was indicted on 14 tax offenses relating

to his individual and payroll tax obligations. See ECF No. 1. On November 4, 2021, after a year

of extensions and a last-second bid by Defendant to adjourn the trial,1 the parties appeared for jury

selection. Even with the various COVID-19 procedures in place, a jury was selected with little

difficulty.

         By the end of Friday, the following day, the trial appeared to be progressing as smoothly

one could have hoped. But the best-laid plans of mice and men often go awry—especially in the

context of a global pandemic. On Friday, November 5, 2021—four minutes before the courthouse

closed—the Government informed this Court and defense counsel by email that one of the



1
  The trial was repeatedly adjourned due to the COVID-19 pandemic and counsels’ need to review
discovery. See, e.g., ECF Nos. 16; 22; 35. On October 7, 2021—less than a month before trial—
Defendant filed a motion to proceed without COVID-19 procedures or to adjourn the trial until it
could be conducted without COVID-19 procedures. See ECF No. 39. His primary argument was
that forcing him to wear a facemask would interfere with his Sixth Amendment right to confront
witnesses face-to-face. See id. at PageID.304–06. His motion was denied because “the witnesses
would [still] be able to perceive [Defendant’s] presence and see his full person,” and his mask
“would not obstruct either his or the jury’s view of the witness.” ECF No. 41 at PageID.315 (Order
Den. Def.’s Mot. for Adjournment).
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Government’s primary witnesses, Donna Henke, had tested positive for COVID-19 earlier that

day.2 Because of her COVID-19 diagnosis, Ms. Henke could not testify in the courtroom on

Monday as originally planned. Despite the circumstances, Defendant refused to waive his Sixth

Amendment right to face-to-face confrontation. Over the next 48 hours, the situation only became

more complicated.

         On Saturday morning, the Government filed a motion to either permit two-way video

testimony or allow Ms. Henke to testify from the courthouse parking lot. ECF No. 55. The

Government had acquired a large tent, table, and chairs so Ms. Henke could testify “while seated

in a covered canopy tent area with [Defendant] and defense counsel present (at a safe distance and

seated in folding chairs at a foldable 6-foot banquet table).” Id. at PageID.477. Within the hour,

Defendant filed a motion to bar the Government’s proposal. ECF No. 56. Defendant stated that his

“whole defense is that [Ms. Henke] is lying” and therefore demanded that Ms. Henke “be forced

to come to court and lie to [his] face and to the jury.” Id. at PageID.488. As for the Government’s

outdoor proposal, Defendant derided the tent-and-table arrangement as a “travesty,” likening it to

a “drive-in theater.” Id. at PageID.491. Defendant also noted that conducting examinations in the

cold outdoor weather could be unsafe. Id.

         Unfortunately, Ms. Henke’s diagnosis was not the only surprise development. At a

telephonic hearing on Monday morning, this Court revealed two additional complications. First,

one of the jurors informed this Court that she could not report for service because her minor son

was very ill with an unspecified illness. Second, on Sunday afternoon, the undersigned’s spouse




2
 The Government later revealed that Ms. Henke first tested positive with a rapid test on November
3, 2021. Ms. Henke then allegedly received a positive PCR test. Ms. Henke allegedly told the
Government of the positive PCR test on Friday afternoon.
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tested positive for COVID-19 and was mildly symptomatic. The undersigned had taken a rapid

test, which returned a negative result, but could not enter the courthouse due to the recent exposure.

       Given those unfortunate developments, this Court proposed adjourning the trial until

November 30, 2021—the earliest available date given this Court’s calendar and the need for Ms.

Henke to recover. The Government agreed, but Defendant objected that the delay could prejudice

his defense, as some jurors might have difficulty recalling the prior testimony. In response, this

Court noted that, given the exceptional circumstances, the only alternative would be a mistrial.

       With those two alternatives in mind, this Court called the jury into the courtroom using an

electronic platform to poll their availability during the week of November 30, 2021. Several jurors

reported that they would be unavailable, some for medical procedures scheduled before trial. With

the proposed adjournment seemingly out of the question, and a confluence of factors preventing

the trial from continuing, this Court informed counsel that it would declare a mistrial.

       Accordingly, for the reasons stated on the record and above, it is ORDERED that the trial

in this matter is TERMINATED by reason of mistrial. The matter shall be set for a new trial

commencing on the earliest practicable date, consistent with this Court’s calendar, and subject to

further motion practice of Defendant.

       Further, it is ORDERED that the Government’s Motion to Permit Two-Way

Videoconference Testimony, ECF No. 55, and Defendant’s Motion to Bar Video Testimony, ECF

No. 56, are DENIED AS MOOT.


       Dated: November 15, 2021                               s/Thomas L. Ludington
                                                              THOMAS L. LUDINGTON
                                                              United States District Judge




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